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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. ______________________

  JAMES VANDIVER, on behalf of himself
  and all others similarly situated,

          Plaintiff,

  v.

  MG BILLING LIMITED dba PROBILLER,
  and DOES 1- 50, inclusive,

          Defendant.


                                  CLASS ACTION COMPLAINT


          Plaintiff JAMES VANDIVER, on behalf of himself and all others similarly situated,

  complains and alleges upon information and belief based, among other things, upon the

  investigation made by Plaintiff and through his attorneys as follows:

                                          INTRODUCTION

          1.      This is a proposed class action seeking monetary damages, restitution, and

  injunctive and declaratory relief from Defendant MG Billing Limited d/b/a Probiller (“Defendant”

  or “Probiller”), arising from Probiller’s deceptive and fraudulent billing practices.

          2.      Specifically, Probiller lures consumers into providing their credit card information

  based on the promise of a cheap $2 “trial” membership to an adult entertainment website, and it

  represents that users who cancel the “trial” within 48 hours will incur no further charges. But that

  is false.

          3.      In fact, Probiller exploits the “trial” offer to sneak other expensive monthly

  subscription charges onto users’ credit cards.
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         4.       Here’s how it works. During the “trial” sign-up process, Probiller surreptitiously

  opts users into membership for a second, additional adult entertainment membership, then

  proceeds to charge consumers monthly subscription fees for the additional adult entertainment

  membership—even for users who cancel during the “trial” period.

         5.       For example, Plaintiff signed up for a $2, 2-day trial membership, relying on the

  express promise on the adult entertainment website that he would incur no additional charges if he

  cancelled within 48 hours, and that if he didn’t cancel he would be charged a maximum of

  $39.99/month.

         6.       He duly cancelled the trial membership within 48 hours. He later learned, to his

  surprise, that he was assessed monthly fees in excess of $500 for a different adult entertainment

  membership, which he did not want and did not use.

         7.       Probiller’s conduct amounts to a bait & switch, violates state consumer protection

  law, and breaches its contract with consumers.

         8.       As a result of Probiller’s deceptive conduct, Plaintiff paid nearly $500 in charges

  for a $2, 2-day trial that he cancelled almost immediately after he signed up.

         9.       Plaintiff and Class members have been injured by Probiller’s deceptive and

  fraudulent practices. Plaintiff brings this action on behalf of himself, the putative Class, and the

  general public. Plaintiff seeks actual damages, punitive damages, restitution, and an injunction on

  behalf of the general public to prevent Probiller from continuing to engage in its illegal practices

  described herein.

                                              PARTIES

         10.      Plaintiff James Vandiver is a citizen and resident of Boulder, Colorado.




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         11.     Defendant MG Billing Limited dba Probiller is engaged in the business of

  providing billing services to American consumers, including Plaintiff and members of the putative

  Classes. Probiller is headquartered in Cyprus and has specifically consented to the personal

  jurisdiction of this Court by agreement between the Parties.

                                  JURISDICTION AND VENUE

         12.     This Court has original jurisdiction of this action, among other reasons, under the

  Class Action Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has

  original jurisdiction because (1) the proposed Class is comprised of at least 100 members; (2) at

  least one member of the proposed class resides outside of Colorado ; and (3) the aggregate claims

  of the putative class members exceed $5 million, exclusive of interest and costs.

         13.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Probiller is

  subject to personal jurisdiction here and regularly conducts business in this District, and because

  a substantial part of the events or omissions giving rise to the claims asserted herein occurred in

  this district. Moreover, Defendant has consented to venue here by agreement between the Parties

                FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

         A.      Pornography is a Multibillion Dollar Business

         14.     According to a recent study, 30% of all data transferred across the Internet is

  pornography and pornography sites get more visitors each month than Netflix, Amazon and

  Twitter combined.1




         1 “Porn Sites Get More Visitors Each Month Than Netflix, Amazon And Twitter
  Combined,” Huffington Post, available at https://www.huffpost.com/entry/internet-porn-
  stats_n_3187682 (last accessed May 15, 2021)
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         15.     Globally, pornography is a $97 billion industry, with an estimated $10-$12 billion

  coming from the United States.2

         16.     10.5 percent of U.S. men have paid for Internet pornography subscriptions. 3

         17.     But as ubiquitous as it is, the pornography industry remains highly unregulated, and

  remains fertile ground for fraudulent business practices such as those that are the subject of this

  complaint.

         18.     This lawsuit seeks to hold Defendant accountable for a practice that, in any other

  industry, would have ended years ago.

         B.      Brazzers Is A Popular Membership-Based Website Which Partners with
                 Probiller to Handle the Billing for its Memberships

         19.     Brazzers markets itself as “the world’s leading adult entertainment brand.” 4

         20.     Unlike many other websites offering similar content, Brazzers is not free. Instead,

  access to Brazzers’ content requires a “membership.”

         21.     Brazzers offers several membership programs, including monthly subscription, an

  annual subscription, and a 2-day trial, which is offered at a cost of $1/day.

         22.     Defendant Probiller handles the billing for all of Brazzers’ memberships. Indeed,

  when consumers sign up for a membership on Brazzers, that membership is governed by Terms

  of Service with Probiller—not Brazzers. Additionally, the webpage on which consumers enter

  their credit card information is hosted by both Probiller and Brazzers and can be found at


         2  “Things Are Looking Up in America’s Porn Industry,” NBC News, available at
  https://www.nbcnews.com/business/business-news/things-are-looking-americas-porn-industry-
  n289431 (last accessed May 15, 2021).
          3   “How Many Men Actually Pay for This?,” Bustle, available at
  https://www.bustle.com/articles/189498-how-many-men-actually-pay-for-porn-one-in-10-guys-
  have-paid-porn-subscriptions (last accessed May 15, 2021).
          4 “Brazzers to Shut Down Porn Site and Rally 18.5M+ Americans to #StrokeTheVote,”

  Yahoo!Finance, available at https://finance.yahoo.com/news/brazzers-shut-down-porn-rally-
  165100831.html (last accessed May 15, 2021).
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  probiller.brazzers.com. In addition, the Probiller logo is displayed prominently at the bottom of

  the membership sign-up page for Brazzers with the advertisement, “We use Probiller as our trusted

  biller.” And, the bottom of the Brazzers membership sign-in page provides the contact information

  for Probiller, not Brazzers:




          C.     Plaintiff Was Deceived Into Paying Monthly Subscription Fees, Even After
                 “Trial” Cancellation

          23.    Plaintiff Vandiver signed up for the Brazzers 2-day trial membership in October

  2019. At the time Plaintiff Vandiver signed up for his Brazzers trial, the membership screen looked

  like this:




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         24.       Further, at the time Plaintiff Vandiver signed up, a disclaimer at the bottom of the

  page read: “2 Days Membership Rebill at $39.99 until cancelled.”

         25.       However, users who click “2 Days Membership” are automatically enrolled in a

  second adult entertainment membership as well. Probiller automatically enrolled Plaintiff into a

  “premium” membership, too. The premium membership billed at $34.97/month, bringing the total

  cost of the membership to almost $75/month.

         26.       Plaintiff, like other reasonable consumers, selected the “2 Days Membership” and

  clicked the large “Start Membership” button without realizing that by doing so, he would be

  automatically enrolled in two separate memberships, including an additional paid membership that

  would require a separate cancellation.

         27.       By using a large “Start Membership” button—which after all, refers to a single

  membership, not multiple memberships—along with other design tricks, Defendant ensured users

  did not and could not determine the truth: that Probiller was signing up users for two separate

  memberships and two separate trials that required two separate cancellations to avoid expensive

  monthly subscription fees.

         28.       This is far from the norm in electronic commerce in general. While “free trials”

  that convert to recurring memberships are common in e-commerce, nearly all platforms

  prominently state directly adjacent to the “start trial” button that failure to cancel will result in

  automatic renewal and provide the terms of that renewal. Indeed, such prominent placement is

  mandated by law in many states, including Colorado, which recently passed legislation to protect

  consumers from misleading and deceptive practices with respect to these automatically renewing

  contracts.5



         5   See https://leg.colorado.gov/bills/hb21-1239
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            29.    Here, Probiller did not alert users that two separate memberships were created

  simultaneously, requiring two separate cancellations, in an intentional design choice to deceive its

  users.

            30.    Defendant’s bait-and-switch lured Plaintiff and other consumers into purchasing

  the “2 Days Membership” based on the false promise that timely cancellation would avoid all

  monthly subscription fees. Then, armed with consumers’ credit card information, Defendant

  quietly and automatically enrolled Plaintiff and other consumers into ancillary memberships they

  did not want, need, or use.

            D.     Probiller Does Not Cancel Trial Memberships Even When Consumers
                   Request That They Do So

            31.    Plaintiff’s experience is informative. Plaintiff signed up for a 2-day trial on October

  18, 2019.

            32.    On October 20, 2019—less than 48 hours later—Plaintiff cancelled his membership

  and received a confirmation email from cancellation@probiller.com. That confirmation email

  stated:

            Greetings,

            Your member account has been cancelled.

            Site URL: www.brazzers.com
            Username: [redacted]
            Valid until: 2019-10-20 18:17:43

            *************************************
            This is to confirm that your web site membership to www.brazzers.com
            has been cancelled. You will continue to have access until 2019-10-20 18:17:43.

            Thank you for being a member




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         33.     After receiving confirmation from Probiller that his “membership” had been

  cancelled, Plaintiff reasonably understood that he would incur no further charges for the “trial” he

  began less than 48 hours before.

         34.     In other words, Plaintiff reasonably understood he was signing up for a single

  “trial,” and a single, timely cancellation would cease all aspects of that “trial.”

         35.     However, Plaintiff continued to be billed by Probiller for several more months for

  membership in the separate, additional adult entertainment website that Probiller had

  surreptitiously signed him up for.

         36.     In total, Plaintiff paid nearly $500 for a $2 trial membership that he cancelled

  almost immediately after he enrolled.

         E.      Numerous Consumer Complaints Confirm Plaintiff’s Experience Is Not
                 Unique

         37.     Numerous consumer complaints confirm Plaintiff’s experience is far from unusual.

         38.     The following online consumer complaints are indicative of a broader problem:

                 I have cancelled my membership of two day trial but I have changed
                 [sic] 34USD after it.

                 I signed up for a 1 dollar trial with brazzers and they ran me all over
                 trying to cancel that it took me about 2 weeks to complete
                 cancellation. By that time i had been charged the initial 1 dollar as
                 well as 24. 95 twice and 39. 99 twice so i ended up paying over 130
                 bucks for a 1 dollar trial. It's a total scam. I was charged 24. 95 as
                 the membership fee and 39. 99 to look at content. It is a scam do
                 not go to brazzers.

                 Why am i being charged in my bank account $39.99 even after i
                 cancelled my account 2 days ago? I do not understand it. Will i be
                 refunded my $39.99? When will i get it back?

                 So I subscribed for a 3 day trial for a $1.00 a day and it said you
                 would automatically cancel after 3 days but now I have this 40.00
                 subscription. I am trying to figure out how cancel this and get mt
                 money back.

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                 I already cancel brazzers membership but still deduce money from
                 my account twice. Please cancel my membership so that you won’t
                 charge me again.

                 I got the cancellation confirmation email and was still charged two
                 days later 34.95 and I haven't gotten on the website since my trial
                 and they've forced my account negative twice!

                 Got screwed over by this company as well. Signed up for the 2 day
                 trial ($1 I believe) - cancelled later that day. Just checked my credit
                 card statement and found that I was charged $70 from their 2
                 companies yesterday.

                 It does not do any good to cancel, because they will still charge you.
                 I cancelled this on two separate occasions, but somehow they had
                 no record of my cancelling.

         F.      Probiller’s Conduct Breaches its Contract with Consumers

         39.     Probiller’s conduct as described herein breaches its contract with consumers.

         40.     First, Plaintiff and class members did not agree to be charged for anything more

  than the single membership they signed up for. Nowhere in the contract does it allow Probiller to

  bill Plaintiff and class members for additional ancillary memberships that they did not explicitly

  agree to. To the contrary, the contract prohibits it:

                 Automatic Recurring Billing (If Selected By Subscriber On The
                 Sign Up Page)
                 In accordance with the terms and conditions of the Site subscription
                 fees may be automatically renewed at or after the end of the original
                 term selected, for a similar period of time and for a similar or lower
                 amount, unless notice of cancellation is received from the
                 Subscriber. Unless and until this agreement is cancelled in
                 accordance with the terms hereof, Subscriber hereby authorizes
                 MG Billing to charge subscriber's chosen payment method to
                 pay for the ongoing cost of membership. Subscriber hereby
                 further authorizes MG Billing to charge subscriber's chosen
                 payment method for any and all additional purchases of materials
                 provided on the site. In the event of an unsuccessful recurring
                 payment, an administration fee of up to $2.00 may be applied in
                 order to keep a subscription temporarily active until the full
                 subscription fee can be processed successfully.

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   Ex. A (emphasis added).

            41.    By charging Plaintiff and class members for additional memberships that they did

   not affirmatively select, Probiller breaches its contract.

            42.    Moreover, Probiller’s failure to cancel memberships breaches its contract with

   consumers.

            43.    Probiller’s terms of service promise:

                   At any time, and without cause, subscription to the service may be
                   terminated by either: MG Billing, the Site, or the Subscriber upon
                   notification of the other by electronic or conventional mail, by chat,
                   or by telephone. Subscribers are liable for charges incurred until the
                   date of the termination.

   Ex. A.

            44.    Defendant breaches the terms of service by failing to cancel the membership as

   promised.

                                        CLASS ALLEGATIONS

            45.    Plaintiff brings this action on behalf of himself, and all others similarly situated

   pursuant to Rule 23 of the Federal Rules of Civil Procedure. This action satisfies the numerosity,

   commonality, typicality, adequacy, predominance and superiority requirements of Rule 23. The

   proposed classes are defined as:

            All consumers who, within the applicable statute of limitations preceding the filing
            of this action to the date of class certification, signed up for a Brazzers membership
            and subsequently paid more than the Brazzers membership fee to Probiller (the
            “Bait & Switch Class”).

            All consumers who, within the applicable statute of limitations preceding the filing
            of this action to the date of class certification cancelled their Brazzers membership
            but were subsequently charged by Probiller (the “Cancellation Class”).




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           46.     In addition to the proposed nationwide classes, Plaintiff also brings this action on

   behalf Colorado subclasses.

           47.     Excluded from the Classes are Defendants, any entities in which they have a

   controlling interest, any of their parents, subsidiaries, affiliates, officers, directors, employees and

   members of such persons’ immediate families, and the presiding judge(s) in this case, and their

   staff. Plaintiff reserves the right to expand, limit, modify, or amend this class definition, including

   the addition of one or more subclasses, in connection with his motion for class certification, or at

   any other time, based upon, inter alia, changing circumstances and/or new facts obtained during

   discovery.

           48.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

   and/or add a subclass(es), if necessary, before this Court determines whether certification is

   appropriate.

           49.     The questions here are ones of common or general interest such that there is a well-

   defined community of interest among the members of the Class. These questions predominate over

   questions that may affect only individual class members because Probiller has acted on grounds

   generally applicable to the Class. Such common legal or factual questions include, but are not

   limited to:

                   a.      Whether Defendant’s alleged misconduct misled or had the tendency to

                           mislead consumers;

                   b.      Whether Defendant engaged in unfair, unlawful, and/or fraudulent business

                           practices under the laws asserted;

                   c.      Whether Defendant’s alleged conduct constitutes violations of the laws

                           asserted;



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                   d.        Whether Defendant breached its contract with consumers;

                   e.        Whether Plaintiff and members of the Class were harmed by Defendant’s

                             misrepresentations;

                   f.        Whether Defendant was unjustly enriched;

                   g.        Whether Plaintiff and the Class have been damaged, and if so, the proper

                             measure of damages; and

                   h.        Whether an injunction is necessary to prevent Defendant from continuing

                             to engage in the wrongful conduct described herein.

           50.     The parties are numerous such that joinder is impracticable. Upon information and

   belief, and subject to class discovery, the Class consists of thousands of members or more, the

   identity of whom are within the exclusive knowledge of and can be ascertained only by resort to

   Probiller’s records. Probiller has the administrative capability through its computer systems and

   other records to identify all members of the Class, and such specific information is not otherwise

   available to Plaintiff.

           51.     It is impracticable to bring members of the Class individual claims before the Court.

   Class treatment permits a large number of similarly situated persons or entities to prosecute their

   common claims in a single forum simultaneously, efficiently and without the unnecessary

   duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

   judgments that numerous individual actions would engender. The benefits of the class mechanism,

   including providing injured persons or entities with a method for obtaining redress on claims that

   might not be practicable to pursue individually, substantially outweigh any difficulties that may

   arise in the management of this class action.




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          52.     Plaintiff’s claims are typical of the claims of the other members of the Class in that

   they arise out of the same wrongful business practices by Probiller, as described herein.

          53.     Plaintiff is more than adequate representative of the Class in that Plaintiff is a

   Probiller customer and has suffered damages as a result of Probiller’s contract violations. In

   addition:

                  a)     Plaintiff is committed to the vigorous prosecution of this action on behalf
                         of himself and all others similarly situated and has retained competent
                         counsel experienced in the prosecution of class actions and, in particular,
                         class actions on behalf of accountholders against financial institutions;

                  b)     There is no conflict of interest between Plaintiff and the unnamed members
                         of the Class;

                  c)     Plaintiff anticipates no difficulty in the management of this litigation as a
                         class action; and

                  d)     Plaintiff’s legal counsel has the financial and legal resources to meet the
                         substantial costs and legal issues associated with this type of litigation.

          54.     Plaintiff knows of no difficulty to be encountered in the maintenance of this action

   that would preclude its maintenance as a class action.

          55.     Probiller has acted or refused to act on grounds generally applicable to the class,

   thereby making appropriate corresponding declaratory relief with respect to the Class as a whole.

          56.     All conditions precedent to bringing this action have been satisfied and/or waived.

                                    CAUSES OF ACTION
                                FIRST CLAIM FOR RELIEF
     Breach of Contract, Including Breach of the Covenant of Good Faith and Fair Dealing
                            (On Behalf of Plaintiff and the Classes)

          57.     Plaintiff realleges the preceding paragraphs as though fully set forth herein.

          58.     Plaintiff and Defendant contracted for certain services as embodied in the Terms of

   Service attached hereto as Exhibit A.




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          59.     No contract provision authorizes Defendant to charge consumers for more than the

   one membership they affirmatively select.

          60.     Additionally, no contract provision authorizes Defendant to charge consumers after

   they cancel their memberships.

          61.     Therefore, Defendant breached the terms of its contract.

          62.     In addition, there exists an implied covenant of good faith and fair dealing in all

   contracts that neither party shall do anything which will have the effect of destroying or injuring

   the right of the other party to receive the fruits of the contract. Good faith and fair dealing, in

   connection with executing contracts and discharging performance and other duties according to

   their terms, means preserving the spirit – not merely the letter – of the bargain. Put differently,

   the parties to a contract are mutually obligated to comply with the substance of their contract in

   addition to its form. Evading the spirit of the bargain and abusing the power to specify terms

   constitute examples of bad faith in the performance of contracts.

          63.     Subterfuge and evasion violate the obligation of good faith in performance even

   when an actor believes their conduct to be justified. Bad faith may be overt or may consist of

   inaction, and fair dealing may require more than honesty. Examples of bad faith are evasion of

   the spirit of the bargain, willful rendering of imperfect performance, abuse of a power to specify

   terms, and interference with or failure to cooperate in the other party’s performance.

          64.     The implied covenant of good faith and fair dealing applies to the performance and

   enforcement of contracts, limits the parties’ conduct when their contract defers decision on a

   particular term, omits terms, or provides ambiguous terms.

          65.     Defendant has breached the covenant of good faith and fair dealing and abused its

   discretion in its contract as described herein.



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             66.   Plaintiff and members of the Classes have performed all, or substantially all, of the

   obligations imposed on them under the contract.

             67.   Plaintiff and members of the Class have sustained damages as a result of

   Defendant’s breaches of the contract.

                                   SECOND CLAIM FOR RELIEF
                          Violation of the Colorado Consumer Protection Act
                         (On Behalf of Plaintiff and the Colorado Subclasses)

             68.   Plaintiff incorporates the preceding allegations by reference as if fully set forth

   herein.

             69.   Plaintiff and other members of the Classes are consumers within the meaning of

   the Colorado Consumer Protection Act (“CCPA”). Defendant is a seller within the meaning of the

   CCPA.

             70.   Defendant’s conduct, as described herein, constitutes an unfair and deceptive trade

   practice, as defined in Colo. Rev. Stat. § 6-1-105. Specifically, as described herein, Probiller

   engaged in unfair and deceptive practices by automatically enrolling Plaintiff and class members

   in ancillary memberships and additional products they did not want or use. Probiller’s conduct

   amounted to a bait & switch.

             71.   Probiller also engaged in unfair and deceptive practices by continuing to bill

   consumers after they cancelled their memberships.

             72.   Probiller’s unfair and deceptive conduct occurred, and continues to occur, in the

   course of Probiller’s business.

             73.   Probiller’s business practices have misled Plaintiff and the proposed Class and will

   continue to mislead them in the future.

             74.   Plaintiff relied on Defendant’s misrepresentations as discussed above.



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           75.     Had Plaintiff known the truth, he would not have signed up for a Brazzers

   membership.

           76.     Plaintiff seeks judicial orders of an equitable nature against Probiller including, but

   not limited to, orders declaring such practices as are complained of herein to be unlawful, unfair,

   fraudulent and/or deceptive and enjoining Probiller from undertaking any further unfair, unlawful,

   fraudulent and/or deceptive acts or omissions.

           77.     Probiller’s practices have injured Plaintiff. Plaintiff therefore seeks damages,

   statutory damages, and attorneys’ fees to the full extent allowed by law.

                                  THIRD CLAIM FOR RELIEF
                                       Unjust Enrichment
                                (On Behalf of Plaintiff and the Classes)

           78.     Plaintiff repeats, realleges, and incorporates by reference each of the foregoing

   paragraphs as if fully set forth herein.

           79.     To the detriment of Plaintiff and the Class, Defendant has been, and continues

   to be, unjustly enriched as a result of its wrongful conduct alleged herein.

           80.     Plaintiff and the Class conferred a benefit on Defendant.

           81.     Defendant unfairly, deceptively, unjustly, and/or unlawfully accepted said

   benefits, which under the circumstances, would be unjust to allow Defendant to retain.

           82.     Defendant’s unjust enrichment is traceable to, and resulted directly and

   proximately from, the conduct alleged herein.

           83.     Plaintiff and the Class, therefore, seek disgorgement of all wrongfully obtained

   fees received by Defendant as a result of its inequitable conduct as more fully stated herein.

                                         PRAYER FOR RELIEF




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          WHEREFORE, Plaintiff, individually and on behalf of the Class demands a jury trial on

   all claims so triable and judgment as follows:

          (a)     Certification for this matter to proceed as a class action on behalf of the Class;

          (b)     Declaring Probiller’s billing practices and policies to be in breach of its contract

                  with customers;

          (c)     For declaratory and injunctive relief as set forth above;

          (d)     For an order requiring Defendant to disgorge and make restitution of all monies it

                  acquired by means of the unlawful practices set forth above;

          (e)     For compensatory damages according to proof;

          (f)     For punitive damages according to proof;

          (g)     For reasonable attorneys’ fees and costs of suit;

          (h)     For pre-judgment interest; and

          (i)     Awarding such other and further relief as this Court deems just, proper and

                  equitable.

                                    DEMAND FOR JURY TRIAL

          Plaintiff and all others similarily situated hereby demand trial by jury on all issues in this

   Class Action Complaint that are so triable.

   Dated: November 1, 2021
                                             By:/s/ Jeffrey D. Kaliel
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